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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

 

CHRISTOPHER MILLER,

Plaintiff, Civ. Action No. 3:10-CV-597
-against- (BKS)
CITY OF ITHACA, et al,

Defendants.

 

SATISFACTION OF JUDGMENT

A judgment was entered in the above-captioned action on the 25th day of August 2016, in
favor of Christopher Miller and against the City of Ithaca, for damages in the amount of $20,000.
Pursuant to 28 U.S.C. § 1961, post judgment interest on this amount was $345.72.

The total amount of said judgment consequently was $20,345.72 and that amount was fully
paid to Mr. Miller and his counsel on July 3, 2019. It is further certified that there are no
outstanding executions with any Sheriff or Marshall.

THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,
and the Clerk of the Court is hereby authorized and directed to make an entry of the full and
complete satisfaction on the docket of said judgment.

Dated: Syracuse, New York

Bosman Law Firm, LLC

 

 

Atfertieys for Christopher Miller
3000 McConnellsville Road
Blossvale, New York 13308
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STATE OF NEW YORK
SS.:

— ee ee

COUNTY OF TOMPKINS

On the day of February, 2020, before me personally came A.J.
Bosman, to me known and known to be a member of the Bosman Law Firm, attorneys for
Christopher Miller in the above-entitled action, and to be the same person described in and who

executed the within satisfaction of judgment and acknowledged to me that she executed the same.

 

Notary Public

Subscribed and sworn to before
me this“; day of February, 2020.
ELEANOR J, MCCLOSKEY
NOTARY PUBLIC-STATE OF NEW YORK
No. 01MC6229603
Qualified In Tompkins County

My Commission Expires October 12, 20TH ”
Notary Public
